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COMPOSITE
EXHIBIT 4
(File Under Seal)

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- — — — — — —_ — —_ = = a - - - - = - - 7 x
VIRGINIA L. GIUFFRE,

Plaintiff,

Case No.:
-against- 15-cv-07433-RWS

GHISLAINE MAXWELL,

Defendant.
—_— — — — —_ — —_ — a —_ —_ —_ —_ — _ ‘ile _ —_ — - x

** CONFIDENTIAL* *

Videotaped deposition of RINALDO
RIZZ0, taken pursuant to subpoena, was
held at the law offices of Boies
Schiller & Flexner, 333 Main Street,
Armonk, New York, commencing June 10,
2016, 10:06 a.m., on the above date,
before Leslie Fagin, a Court Reporter
and Notary Public in the State of New
York.

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1200 Avenue of the Americas
New York, New York 10026
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1 R. Rizzo - Confidential

2 Q. Did you learn whether your

3 perception was correct?

4 MR. PAGLIUCA: Same objection.

5 A. It was younger. Yes, I did.

6 Q. How old was this girl?

7 A, 15 years old.

8 Q. What happens next when Ghislaine

9 Maxwell and Jeffrey Epstein and a 15-year-old

10 girl walk into Eva Anderson's home?

11 MR. PAGLIUCA: Object to the form.
12 Foundation.

13 A. They proceed into the dining room
14 area, which is across from the living room
15 area. I go into the kitchen and I hear a

16 conversation start. Very muffled, I could

17 not hear any particulars about the

18 conversation whatsoever.
19 My wife and I are in the kitchen
20 preparing the evening meal. Eva brings the

21 young girl into the kitchen. In the kitchen,
22 there is an island with three barstools. Eva
23 instructs the young girl to sit to the

24 furthest barstool on the right.

25 QO. Describe for me what the girl

 

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1 R. Rizzo - Confidential

2 A. She proceeds to tell my wife and I
3 that, and this is not -- this is blurting

4 out, not a conversation like I'm having a

5 casual conversation, That quickly, I was on

6 an island, I was on the island and there was
7 Ghislaine, there was Sarah, she said they

8 asked me for sex, I said no.

9 And she is just rambling, and I'm
10 like what, and she said -- I asked her, I

11 said what? And she says yes, I was on the

12 island, I don't know how I got from the

13 island to here. Last afternoon or in the
14 afternoon I was on the island and now I'm
15 here. And I said do you have a -- this is

16 not making any sense to me, and I said this
17 is nuts, do you have a passport, do you have
18 a phone?

19 And she says no, and she says

20 Ghislaine took my passport. And I said what,
21 and she says Sarah took her passport and her
22 phone and gave it to Ghislaine Maxwell, and
23 at that point she said that she was

24 threatened. And I said threatened, she says

25 yes, I was threatened by Ghislaine not to

 

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CERTIFICATE

I HEREBY CERTIFY that RINALDO

RIZ40, was duly sworn by

me and that the

Page 141

deposition is a true record of the testimony

given by the witness.

 

 

Léslie agin,

 

Registered Professional Reporter

Dated: gune 10, 2016

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